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 1   OR IN CASE OF DENIAL:

 2          The government’s application for sealed filing is DENIED.         The

 3   sealing application will be filed under seal.        The underlying

 4   documents shall be returned to the government, without filing of the

 5   documents or reflection of the name or nature of the documents on the

 6   clerk’s public docket.

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 9   DATE                                     HONORABLE MICHAEL R. WILNER
                                              UNITED STATES MAGISTRATE JUDGE
10
     Presented by:
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12   ALEXANDER C.K. WYMAN
     Assistant United States Attorney
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